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               15
               16                        IN THE UNITED STATES DISTRICT COURT
               17                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
               18
               19      CHRISTOPHER BARULICH,                      Case No. 2:24-cv-01253-FLA-JC
                       individually and on behalf of all others
               20      similarly situated,                        GOOGLE LLC’S NOTICE OF
                                                                  MOTION AND MOTION TO
               21                      Plaintiff,                 TRANSFER; MEMORANDUM
                                                                  OF POINTS AND AUTHORITIES
               22            v.
                                                                  Hearing
               23      THE HOME DEPOT, INC., a Delaware           Date: June 7, 2024
                       corporation, and GOOGLE LLC, a             Time: 1:30 p.m.
               24      Delaware limited liability company,        Judge: Fernando L. Aenlle-Rocha
                                                                  Place: Courtroom 6B
               25                      Defendants.
                                                                  [Filed concurrently with:
               26                                                 Declarations of Kristine Forderer and
               27                                                 Jacky Goodwin; Proposed Order]
               28
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                                                                                GOOGLE LLC’S MOTION TO TRANSFER
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                   1
                   2                                  NOTICE OF MOTION
                   3   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
                   4          PLEASE TAKE NOTICE that on June 7, 2024, at 1:30 p.m., or as soon
                   5   thereafter as the matter may be heard, before the Honorable Fernando L. Aenlle-
                   6   Rocha of the Central District of California at the First Street Courthouse, Courtroom
                   7   6B, 6th Floor, located at 350 West First Street, Los Angeles, California 90012,
                   8   Defendant Google LLC (“Google”) will and hereby does move the Court to transfer
                   9   this case to the United States District Court for the Northern District of California, so
               10      that it can be concurrently litigated with an earlier-filed case, Misael Ambriz v.
               11      Google LLC (N.D. Cal. filed Oct. 23, 2023), pending before the Honorable Rita F.
               12      Lin.
               13             This Motion is based on this Notice of Motion, the following Memorandum of
               14      Points and Authorities, the concurrently filed Declarations of Kristine Forderer and
               15      Jacky Goodwin, the pleadings, any oral argument, and any other materials properly
               16      presented with this Motion. This Motion is made following the conference of counsel
               17      pursuant to Local Rule 7-3, which took place on April 9, 2024.
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                   1                MEMORANDUM OF POINTS AND AUTHORITIES
                   2   I.    INTRODUCTION
                   3         Nearly four months after Ambriz v. Google, No. 3:23-cv-05437 (N.D. Cal. Oct.
                   4   23, 2023) (“Ambriz”) was filed in the Northern District of California, Plaintiff
                   5   Christopher Barulich filed this nearly identical action, captioned Christopher
                   6   Barulich v. The Home Depot, Inc. et al., No. 2:24-cv-01253 (C.D. Cal. Feb. 14, 2024)
                   7   (“Barulich”). Here, Barulich alleges that Google violated Cal. Penal Code § 631(a)
                   8   (“Section 631(a)”) of the California Invasion of Privacy Act (“CIPA”), through its
                   9   provision of certain services to the Home Depot, Inc. (“Home Depot”) via Google
               10      Cloud’s Contact Center Artificial Intelligence (“CCAI”) technology. As alleged, the
               11      only difference between Barulich and Ambriz is that Ambriz involves Google’s
               12      provision of CCAI services to Verizon Communications, Inc. (“Verizon”), whereas
               13      in Barulich, Home Depot is the customer.
               14            Under the first-to-file rule, the Court should transfer this action to the Northern
               15      District of California, so that this case may be litigated alongside Ambriz. Each
               16      requirement of the first-to-file rule is satisfied here: (1) chronology, (2) similarity of
               17      legal issues, and (3) similarity of parties. First, this case was filed nearly four months
               18      after Ambriz. Second, the two actions involve the same primary legal claims and
               19      defenses: whether Google allegedly eavesdrops on customer service calls via CCAI,
               20      whether Google is a third party to these communications, whether the alleged
               21      interception occurred “in transit,” whether plaintiffs consented to the alleged
               22      interception, and whether plaintiffs used a landline, as required to state a violation
               23      under Section 631(a)’s first clause. Third, there is substantial overlap between the
               24      parties. Google is a named defendant in both cases, the putative classes have the same
               25      interests, and there may be overlap between the two class definitions.
               26            The Court can also transfer this action under 28 U.S.C. § 1404(a) (“Section
               27      1404(a)”) because this action could have been filed in the Northern District of
               28      California and litigating this action in that District will be more convenient for the
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                   1   parties and conserve federal judicial resources.
                   2         Principles of economy, consistency, and comity warrant transferring this case
                   3   to the Northern District of California. For the reasons explained more fully below,
                   4   the Court should grant Google’s Motion.
                   5   II.   BACKGROUND
                   6         A.     The First Action: Ambriz v. Google (N.D. Cal.)
                   7         On October 23, 2023, Plaintiff Misael Ambriz filed a class action lawsuit
                   8   against Google alleging that CCAI constituted an illegal wiretap under the first and
                   9   second prongs of Section 631(a). See Declaration of Kristine Forderer (“Forderer
               10      Decl.”), ¶ 2, Ex. A (“Ambriz Compl.”). Ambriz alleges that on several occasions he
               11      called Verizon’s customer contact center which used CCAI. Ambriz Compl. ¶¶ 25,
               12      32. Ambriz further claims that Google’s “session manager”—a computer— remained
               13      on the line when he was transferred to a live human agent, and suggested “‘smart
               14      replies’ and news articles to the Verizon agent [Ambriz] was communicating with.”
               15      Id. ¶ 36. Ambriz claims that he expected this portion of the conversation to “be only
               16      between himself and the Verizon human customer service agent,” not CCAI. Id. ¶
               17      35. Ambriz alleges that “Google read and learned, in real time, the contents of
               18      Plaintiff’s conversation with Verizon,” all without obtaining consent. Id. ¶¶ 37–38.
               19            Ambriz brings the action on behalf of any individual in the United States who
               20      “had the contents of their conversations with Verizon read and learned by” Google
               21      using CCAI, and a subclass of individuals who were in California at the time of the
               22      alleged wiretapping. Ambriz Compl. ¶¶ 40–41.
               23            Ambriz alleges that the following common questions will predominate: (1)
               24      whether Google violated Section 631(a); (2) whether Google had “sought or obtained
               25      prior consent—express or otherwise” from Ambriz or the putative classes; and (3)
               26      whether Ambriz and the putative class are entitled to “actual and/or statutory
               27      damages.” Ambriz Compl. ¶ 45.
               28            Google moved to dismiss Ambriz earlier this year arguing, inter alia, that
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                   1   CCAI is not a “third-party” for purposes of CIPA liability. Forderer Decl., ¶ 3, Ex. B
                   2   (Google’s Motion to Dismiss Ambriz) at 5:10–11. Judge Rita Lin held oral argument
                   3   on March 19, 2024, and took the matter under submission. Id. ¶ 4. As of the date of
                   4   this filing, Judge Lin has not yet issued a written order. Id. Further, as of the date of
                   5   this filing, the Ambriz Court has not yet held a case management conference or set a
                   6   case schedule, and no discovery has commenced. Id. ¶ 5.
                   7         B.     The Second Action: Barulich v. Google (C.D. Cal.)
                   8         On February 14, 2024, Plaintiff Christopher Barulich filed a class action
                   9   lawsuit against Google and Home Depot alleging that Google illegally wiretapped
               10      Barulich’s customer service calls to Home Depot through CCAI, in violation of
               11      Section 631(a). ECF No. 1 (“Barulich Compl.”). Barulich alleges he called Home
               12      Depot’s customer service department, which used CCAI, “multiple times.” Id. ¶ 20.
               13      Like Ambriz, Barulich alleges that he “first spoke with a Home Depot ‘virtual agent’”
               14      and “was not aware, and had no reason to believe, that his communications were
               15      simultaneously being disclosed to a third party: Google.” Id. ¶¶ 21, 23. When
               16      Barulich was allegedly transferred to a live Home Depot agent, he claims that Google
               17      remained on the line and “suggest possible replies to the live Home Depot agent on
               18      the phone,” even though he “had a reasonable expectation that the conversation was
               19      only between himself and Home Depot.” Id. ¶¶ 24, 26. Like Ambriz, Barulich alleges
               20      that “Google read, attempted to read, or learned the contents of [Plaintiff Barulich’s]
               21      communications with Home Depot.” Id. ¶ 27; see Ambriz Compl. ¶ 37.
               22            Barulich brings the instant action on behalf of all California residents “who
               23      called Home Depot . . . in which Home Depot permitted Google to access, read,
               24      and/or learn the contents of callers’ communications via its CCAI service.” Barulich
               25      Compl. ¶ 36.
               26            Like Ambriz, Barulich alleges that the following common questions will
               27      predominate in this action, including whether: (1) Google violates Section 631(a);
               28      (2) Google was a third party to calls or merely provided a tool to Home Depot; (3)
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                   1   Home Depot and/or Google obtained prior or retroactive consent; and (4) Barulich
                   2   and the putative class are entitled to damages under CIPA. Barulich Compl. ¶ 39; see
                   3   id. ¶ 47 (asserting Section 631(a) against Google).
                   4          On March 13, 2024, this Court extended the deadline for Google and Home
                   5   Depot to answer or otherwise respond to the Barulich Complaint until May 13, 2024.
                   6   ECF No. 25. The following day, Google filed a notice of pendency of other actions
                   7   or proceedings, identifying Ambriz. ECF No. 26. As of the date of this filing, no party
                   8   has responded to the Barulich Complaint, no discovery has taken place, and the Court
                   9   has not held a case management conference or issued a case schedule.
               10      III.   LEGAL STANDARD
               11             A.    Transfer Under the First-To-File Rule
               12             The first-to-file rule permits a district court to dismiss, stay, or transfer a case
               13      “if a similar case with substantially similar issues and parties was previously filed in
               14      another district court.” See Kohn Law Grp., Inc. v. Auto Parts Mfg. Miss., Inc., 787
               15      F.3d 1237, 1239 (9th Cir. 2015). In applying the rule, “a court analyzes three factors:
               16      chronology of the lawsuits, similarity of the parties, and similarity of the issues.” Id.
               17      at 1240.
               18             “The first-to-file rule is intended to ‘serve[] the purpose of promoting
               19      efficiency well and should not be disregarded lightly.’” Id. at 1239 (quoting Alltrade,
               20      Inc. v. Uniweld Prods., Inc., 946 F.2d 622, 625 (9th Cir. 1991)). “When applying the
               21      first-to-file rule, courts should be driven to maximize ‘economy, consistency, and
               22      comity.” Id. at 1240 (citation omitted). The rule is “designed to avoid placing an
               23      unnecessary burden on the federal judiciary, and to avoid the embarrassment of
               24      conflicting judgments,” Church of Scientology of Cal. v. U.S. Dep’t of Army, 611
               25      F.2d 738, 750 (9th Cir. 1979), making it especially appropriate in the context of class
               26      actions, see Zepeda v. Ulta Salon, Cosmetics & Fragrance, Inc., 2018 WL 6981842,
               27      at *5 (C.D. Cal. June 1, 2018) (citation omitted) (explaining class actions are
               28      “‘frequently complex affairs which tax judicial resources,’ and are ‘the very cases in
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                   1   which the principles of avoiding duplicative proceedings and inconsistent holdings
                   2   are at their zenith’”); Henry v. Home Depot U.S.A., Inc., 2016 WL 4538365, at *4
                   3   (N.D. Cal. Aug. 31, 2016) (citation omitted) (“‘[L]itigating a class action requires
                   4   both the parties and the court to expend substantial resources’ and ‘the most
                   5   important purpose of the first-to-file rule is to conserve these resources by limiting
                   6   duplicative cases.’”).
                   7         Courts applying the first-to-file rule therefore look to whether the two actions
                   8   are “substantially similar or involve substantial overlap,” rather than requiring
                   9   identical parties or issues. Priddy v. Lane Bryant, Inc., 2008 WL 11410109, at *7
               10      (C.D. Cal. Nov. 24, 2008); see also Riffel v. Regents of the Univ. of Cal., 2019 WL
               11      5978784, at *5 (C.D. Cal. Nov. 12, 2019) (citation omitted) (“Cases are sufficiently
               12      similar where key issues overlap and the resolution of one case could affect the
               13      resolution of the other.”).
               14            If the first-to-file rule applies, “the court of the later-filed action should defer
               15      to the jurisdiction of the court of the first-filed action by either dismissing, staying,
               16      or transferring the later-filed suit.” Molander v. Google LLC, 473 F. Supp. 3d 1013,
               17      1017 (N.D. Cal. 2020) (citation omitted). Here, Google seeks a transfer of this action.
               18            B.     Transfer Under Section 1404(a)
               19            “The purpose of § 1404(a) is to ‘prevent the waste of time, energy, and money
               20      and to protect litigants, witnesses and the public against unnecessary inconvenience
               21      and expense.’” Ickes v. AMC Networks Inc., 2023 WL 4297577, at *4 (N.D. Cal. June
               22      30, 2023). “For the convenience of parties and witnesses, in the interest of justice, a
               23      district court may transfer any civil action to any other district or division where it
               24      might have been brought.” 28 U.S.C. § 1404(a). Transfer under Section 1404(a) is
               25      proper if the action could have been brought in the other district, and if transfer would
               26      be convenient for the parties and serve the interest of justice. Ickes, 2023 WL
               27      4297577, at *4.
               28
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                   1   IV.   ARGUMENT
                   2         A.     Transfer is Appropriate Under the First-to-File Rule
                   3         All three first-to-file factors—timing, similarity of issues, and similarity of
                   4   parties—are satisfied here. The Court should therefore transfer Barulich to the
                   5   Northern District of California under the first-to-file rule.
                   6         Timing of the Two Cases: “The first—and most fundamental—requirement is
                   7   that the action in the transferee district court must have been filed prior to the action
                   8   in the transferor district court.” Zimmer v. Dometic Corp., 2018 WL 1135634, at *3
                   9   (C.D. Cal. Feb. 22, 2018). Ambriz was filed on October 23, 2023, and this action was
               10      filed on February 14, 2024—roughly four months after Ambriz.1 The timing of the
               11      two actions satisfies the first factor under the first-to-file rule. See Variscite, Inc. v.
               12      City of L.A., 2023 WL 3493557, at *10 (C.D. Cal. Apr. 11, 2023) (“The first factor
               13      simply requires that the case in question be filed later in time than the comparator
               14      case.”).
               15            Identical Legal Issues: Under the first-to-file rule, “[c]ases are sufficiently
               16      similar ‘where key issues overlap and the resolution of one case could affect the
               17      resolution of the other.’” Carrera v. First Am. Home Buyers Prot. Co., 2012 WL
               18      13012698, at *5 (C.D. Cal. Jan. 24, 2012) (citation omitted); see also eNom, Inc. v.
               19      Philbrick, 2008 WL 4933976, at *2 (W.D. Wash. Nov. 17, 2008) (applying the first-
               20      to-file rule, even though the later-filed case included an additional claim, because the
               21      issues were still “overwhelmingly similar . . . so simultaneous adjudication of both
               22      cases would waste judicial resources”).
               23            As alleged, the issues raised by the claims against Google in this action are
               24      nearly identical to those raised in Ambriz. The central question in both cases is
               25      1
                         The complaint in this action largely cuts and pastes from Ambriz, often repeating
                       the same allegations with minor tweaks. E.g., compare Barulich Compl. ¶ 27, with
               26      Ambriz Compl. ¶ 37. Ambriz also was reported in the legal press. See Lauren Berg,
                       Google AI Accused of Wiretapping Customer Service Calls, LAW360 (Oct. 25, 2023),
               27      accessible at: https://www.law360.com/articles/1736903 (last visited Apr. 19, 2024).
                       Plaintiff and his counsel clearly were aware of Ambriz but did not notify the Court of
               28      this related case per Local Rule 83-1.4.
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                   1   whether Google’s CCAI technology, as used in customer call centers, violates
                   2   Section 631(a); answering this question involves the same legal questions around
                   3   whether Google eavesdrops on customer service calls via CCAI, whether Google is
                   4   a third party to customer service communications that use CCAI, whether the alleged
                   5   interception is “in transit,” and whether Plaintiff used a landline. Compare Barulich
                   6   Compl. ¶ 39, with Ambriz Compl. ¶ 45. Other key issues common to both actions are
                   7   whether plaintiffs and the putative classes consented to the challenged conduct, and
                   8   whether Google is liable for statutory damages under CIPA. See id. That Barulich
                   9   also alleges aiding and abetting and/or conspiracy liability against Home Depot does
               10      not change the analysis. Secondary liability necessarily turns on whether Google has
               11      violated Section 631(a)—the central issue in both cases. It is enough that “the
               12      resolution of the [earlier-filed] case would simultaneously resolve most, if not all, of
               13      the issues raised in the instant action.” Gatlin v. United Parcel Serv., Inc., 2018 WL
               14      10161198, at *6 (C.D. Cal. Aug. 23, 2018). Transfer is therefore warranted under the
               15      second factor because the main legal issues raised in Ambriz and Barulich are
               16      substantially identical.
               17            Substantially Similar Parties: The third factor—substantial similarity of the
               18      parties—also is satisfied here. Google is a defendant in both actions, and the classes
               19      have similar interests. The addition of Home Depot as a defendant in Barulich does
               20      not affect the analysis. See, e.g., Red v. Unilever U.S., Inc., 2010 WL 11515197, at
               21      *5 (C.D. Cal. Jan. 25, 2010) (“the first-to-file rule does not require identical parties,”
               22      only “substantial overlap”); Kohn, 787 F.3d at 1240 (inclusion of additional
               23      defendant in one action but not the other does not defeat a finding that there is
               24      substantial similarity between the parties). Instead, it is sufficient that Google is a
               25      named defendant in both actions. See Youngevity Int’l, Inc. v. Renew Life Formulas,
               26      Inc., 42 F. Supp. 3d 1377, 1382 (S.D. Cal. 2014) (holding that a common defendant
               27      makes both actions “substantially similar”).
               28            In evaluating the similarity of plaintiffs in putative class actions, “courts look
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                   1   to the proposed classes rather than the named plaintiffs.” Red, 2010 WL 11515197,
                   2   at *4. “Exact identity of the proposed classes is not required.” Booker v. Am. Honda
                   3   Motor Co., Inc., 2020 WL 7263538, at *2 (C.D. Cal. Oct. 20, 2020). Rather, parties
                   4   are “‘substantially similar’ under the first-to-file rule ‘if they represent the same
                   5   interests.’” Variscite, 2023 WL 3493557, at *11 (collecting cases) (citation omitted);
                   6   see also Aqua Connect, Inc. v. SHI Int’l Corp., 2019 WL 8883452, at *3 (C.D. Cal.
                   7   Dec. 16, 2019) (“Courts have found that if the parties are not identical in the two
                   8   related actions, they are ‘substantially similar’ under the first-to-file rule if they
                   9   represent the same interests.”).
               10            The class definitions in Barulich and Ambriz include individuals who placed
               11      customer service calls that Google, through CCAI, allegedly wiretapped and/or
               12      eavesdropped. Both classes seek to recover statutory damages under Section 631(a).
               13      Thus, both putative classes have “the same interests,” see Variscite, 2023 WL
               14      3493557, at *11 (citation omitted), and the Court should find overlap of the parties
               15      on this basis alone. See Hoyt v. Amazon.com, Inc., 2019 WL 1411222, at *5 (N.D.
               16      Cal. Mar. 28, 2019) (finding substantial similarity of two class actions asserting the
               17      same independent-contractor-misclassification theory, despite different class
               18      definitions, because the later-filed action “represents the same interests” as the
               19      earlier-filed action); Ruff v. Del Monte Corp., 2013 WL 1435230, at *3 (N.D. Cal.
               20      Apr. 9, 2013) (finding product liability class actions, each asserting violations of
               21      distinct consumer protection statutes, were “substantially similar in scope” for
               22      purposes of applying the first-to-file rule); Nova Wines, Inc. v. Adler Fels Winery
               23      LLC, 2007 WL 708556, at *3 (N.D. Cal. Mar. 2, 2007) (staying case under the first-
               24      to-file rule where an earlier-filed action involving different parties would have been
               25      “highly probative” on the issues in the instant action).
               26            The first-to-file rule contemplates overlap between the classes, even if they are
               27      defined differently, where, as here, the two putative classes are not mutually
               28      exclusive. Barulich includes a putative class of California residents who called Home
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                   1   Depot’s allegedly CCAI-enabled call center, and Ambriz includes two putative
                   2   classes—a nationwide class and a California subclass—of persons who called
                   3   Verizon’s allegedly CCAI-enabled call center. Barulich Compl. ¶ 36; Ambriz Compl.
                   4   ¶¶ 40–41. These classes are not mutually exclusive; some California residents may
                   5   have called both Verizon’s and Home Depot’s call centers and would be included in
                   6   both class definitions.
                   7         Furthermore, due to the particularized risk that parallel class actions pose to
                   8   federal comity, courts have granted motions to transfer under the first-to-file rule
                   9   even where the two actions involve mutually distinct classes with no overlap. See
               10      MSP Recovery Claims, Series LLC v. Mallinckrodt ARD Inc., 2018 WL 2589014, at
               11      *3 (C.D. Cal. Jan. 17, 2018) (finding parties “sufficiently similar” and transferring
               12      case where the parties represented that plaintiffs in one class action “are excluded
               13      from the class definition” of the other); Granillo v. FCA U.S. LLC, 2016 WL
               14      8814351, at *3–4 (C.D. Cal. Jan. 11, 2016) (finding parties “sufficiently similar” and
               15      transferring case where “the classes in both actions were mutually exclusive”);
               16      Cadenasso v. Metro. Life Ins. Co., 2014 WL 1510853, at *10–11 (N.D. Cal. Apr. 15,
               17      2014) (finding parties “sufficiently similar” and transferring case where one putative
               18      class consisted of only Missouri residents, and the other consisted of residents of the
               19      other 49 states, making both classes “mutually exclusive”). As in these cases, and
               20      despite the differences in the class definitions, Barulich and Ambriz involve the same
               21      key legal issues, name Google as a defendant, and represent a class of consumers
               22      who claim they were wiretapped and/or eavesdropped upon via Google’s CCAI.
               23            Given the close relationship between this action and Ambriz, and the risk of
               24      inconsistent rulings if the cases remain in two separate courts, the Court should
               25      transfer this case to the Northern District of California to “maximize ‘economy,
               26      consistency, and comity.’” See Kohn, 787 F.3d at 1240 (citation omitted).
               27            B.     Transfer Is Also Appropriate Under Section 1404(a)
               28            Transfer is also appropriate under Section 1404(a). In evaluating whether to
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                   1   transfer an action under Section 1404(a), a court “must first determine whether the
                   2   transferee court is one in which the action could originally have been brought.”
                   3   Gomes v. Wal-Mart Assocs., Inc., 2023 WL 5506024, at *2 (C.D. Cal. Apr. 13, 2023).
                   4   “If the answer to this threshold question is yes, the court must then determine whether
                   5   transfer is appropriate, considering the convenience of the parties, witnesses, and the
                   6   interest of justice.” Id.
                   7          This action could have been filed in the Northern District of California: To
                   8   satisfy the first Section 1404(a) requirement, the transferee court must have subject
                   9   matter jurisdiction over the dispute, personal jurisdiction over the parties, and venue
               10      must be appropriate. Bowman v. IRC-Interstate Realty Corp., 2014 WL 12966001,
               11      at *3 (C.D. Cal. June 20, 2014).
               12             Here, there is no dispute that Barulich could have been filed against Google in
               13      the Northern District of California, which has subject matter jurisdiction over this
               14      dispute pursuant to the Class Action Fairness Act of 2005. 28 U.S.C. § 1332(d)(2);
               15      see Barulich Compl. ¶ 10. Given that both Barulich and Google are residents of
               16      California, the Northern District of California has personal jurisdiction over both
               17      parties.2 See Barulich Compl. ¶¶ 12–13. Finally, venue would be proper in the
               18      Northern District under 28 U.S.C. § 1391(b)(2) because Google—which developed
               19      and licensed CCAI, the service at the center of Barulich’s claims—maintains its
               20      principal place of business there. See Barulich Compl. ¶ 12. Thus, the first
               21      requirement under Section 1404(a) is satisfied.
               22             Considerations of convenience and fairness support transfer: In evaluating
               23      whether the interests of justice warrant transfer under Section 1404(a), courts
               24      consider a variety of factors that should not be applied mechanically, including but
               25
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                         Home Depot contends that there is no personal jurisdiction over Home Depot in
               26      either the Central District or the Northern District of California. ECF No. 27. If
                       necessary, Google alternatively requests a stay of this action (under the first-to-file
               27      rule) while the Court resolves Home Depot’s challenge to personal jurisdiction. If
                       this Court concludes that there is personal jurisdiction, counsel for Home Depot has
               28      represented that it does not object to transfer.
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                   1   not limited to: (1) “the location where the relevant agreements were negotiated and
                   2   executed”; (2) “the differences in the costs of litigation in the two forums”; and
                   3   (3) “the ease of access to sources of proof.” See Gomes, 2023 WL 5506024, at *2
                   4   (considering these factors “against the backdrop of the statutory requirements 28
                   5   U.S.C. 1404(a): Convenience of witnesses, convenience of parties, and the interests
                   6   of justice”). These factors also support transferring this action to the Northern District
                   7   of California.
                   8         Because Google has its principal place of business in the Northern District,
                   9   much of the evidence relevant to this case and Ambriz will likely originate and/or be
               10      coordinated from that District. This includes evidence regarding the development,
               11      capabilities, use and maintenance of the underlying technology at issue—CCAI—as
               12      well as evidence related to CCAI contracts with Google’s customers. In addition to
               13      documentary evidence, the largest group of Google employees with relevant
               14      knowledge about these cases are based in the Northern District of California, thus
               15      making it more convenient for them to participate in proceedings if this action is
               16      transferred. See Declaration of Jacky Goodwin ¶ 2.
               17            Further, considerable efficiencies will be gained by the parties and the courts
               18      if both cases proceed in the same District before a single judge. As to conserving
               19      judicial resources, the Northern District may explore a variety of options to manage
               20      the two cases if this case is transferred, which could take the form of consolidated
               21      briefing, coordinated discovery, or other mechanisms that can be used to efficiently
               22      resolve the cases. At minimum, litigating two fundamentally identical cases in two
               23      separate districts will make it more costly for both Google and the federal judiciary.
               24      The interests of justice will be served if the Court transfers this action to the Northern
               25      District so that it can be litigated alongside Ambriz.
               26      V.    CONCLUSION
               27            For these reasons, the Court should transfer this action to the Northern District
               28      of California pursuant to the first-to-file rule or under Section 1404(a).
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                       Dated: April 19, 2024                     COOLEY LLP
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                   3
                                                                 By: /s/ Kristine A. Forderer
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                   7
                   8                           CERTIFICATE OF COMPLIANCE
                   9         The undersigned, counsel of record for Google LLC, certifies that this brief
               10      contains 3,588 words, which complies with the word limit of L.R. 11-6.1.
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                                                                         /s/ Kristine A. Forderer
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